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                                                                                    EXHIBIT 56




BROWNvPARIS
Division 3 - Chamber 3
RGNo.



                         CONCLUSIONS IN RESPONSE
FOR:


Ms. Heidi BROWN, born March 30, 1982 in Oregon (United States of America), residing at
2256 Abbott Ave. Ashland, OR 97520, Oregon, United States, of American nationality, director
of marketing,


                                   Represented by the attorney Maitre Sandrine FARRUGIA,
                                                                    Attorney at the PARIS bar,
                                                    Residing at 14, rue Le Sueur 75116 PARIS
                                                                                  Toque G0423
                                   (Phone: 06.21.19.26.65 - Mail: farrugiaavocat@gmail.com)
AGAINST:
Mr. Arnaud PARIS, Born April 14, 1978 in Longjumeau (Essonne), of Franco-American
nationality, filmmaker, residing at 13, rue Ferdinand DUVAL, PARIS (75004)




                                     Represented by the attorney Maitre Terence RICHOUX,
                                                                   Attorney at the PARIS bar,
                                             Residing at 23, rue Henri Barbusse 75005 PARIS
                                                                                  Toque E780


[TRANSLATOR'S NOTE:
In the following excerpt of pages 30 to 33 of this legal submission by Ms. Brown's attorney,
Sandrine FARRUGIA, only the key highlighted sentences have been translated. The
remainder of the text has been left in French.]




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Monsieur PARIS fait preuve d'une ingerence qui frole le harcelement.

Monsieur PARIS outrepasse ses droits et porte atteinte aux droits parentaux de la mere.

Par consequent, la mise en oeuvre de !'interdiction de sortie du territoire sans !'accord des deux
parents et le positionnement subsequent de refus systematique de Monsieur PARIS ne permettra
pas a Madame BROWN de voir ses enfants si ce n'est 10 jours par an.

Une telle situation constitue de toute evidence non seulement une consequence manifestement
excessive pour Madame BROWN mais apparait egalement contraire a l'interet de Juliette
et Eva.

Or en realite, il n' existe au risque de fuite de Madame BROWN avec les deux filles.

   -Regarding the absence offlight risk/or Ms. BROWN

Au jour des presentes, Monsieur PARIS a demande l'homologation du jugement frarn;ais dans
plusieurs Etats americains.

11 n'ignore pas que Madame BROWN a accepte cette validation puisqu'il ecrit lui-meme : « vous
avez meme reconnu la validite dujugementfranr;ais en CALIFORNIE ».

Piece n° 72

Mr. PARIS therefore cannot legitimately claim that there is a risk of the mother absconding with
the children.

Moreover, Mr. PARIS 's fears are highly inappropriate insofar as he is the only one to have
ignored an enforceable decision and to have unlawfully removed Juliette and Eva.

En effet, Monsieur PARIS savait pertinemment que la decision de STATU QUO ne lui
permettait pas de deplacer les enfants de l'Etat de !'Oregon tant que le juge americain n'avait pas
statue sur la procedure d'exequatur.

Monsieur PARIS a done ete a l' encontre de la decision de la juridiction americaine anterieure au
jugement du Juge aux affaires familiales du Tribunal Judiciaire de PARIS pour faire valider la
soustraction des enfants par le Juge frarn;ais - ce qu'il a obtenu par fraude en premiere instance.




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Madame BROWN souhaite seulement pouvoir disposer d'une de~i~io                                    !itj;)fi»:'rtt nJ  ;de
maintenir des liens reguliers, stables et protecteurs avec ses enfantJ. Y~t
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Madame BROWN est soumis au hon vouloir et a la toute-puissan~e d~J\1vn~i~~t,;f~RISi et
ce, sans aucune prise en compte de l'interet de Juliette et Eva.
Sur ce point, Monsieur PARIS se prevaut du fait que la mere a sollicite la deliverance de
passeport americain pour les enfants.

But as we have indicated extensively, Mr. PARIS refuses to issue French passports or even any
identity papers for the children, maintaining that the mother would only use them to flee.

D'une part, il sera rappele que Madame BROWN a rencontre ses enfants durant les vacances de
Noel sans tenter de fuir comme le pretend le pere.

D'autre part, durant les vacances de fevrier 2024, alors qu'elle a obtenu des passeports
americains ce que Monsieur PARIS n'ignore pas pour avoir ete averti par l'ambassade
americaine, elle n' a pas non plus tente de fuir ...

The alleged flight is only a figment of Mr. PARIS' imagination, which is why he mentions a
safety protocol.

Monsieur PARIS omet egalement de preciser qu'il procede a l'enregistrement du jugement
frarn;:ais clans differents Etats americains.

Piece n° 94

Dans l'intervalle, !'instance pendante aux Etats Unis, introduite bien avant le depart du pere avec
les enfants, a accorde la garde exclusive des enfants aux Etats Unis.

Neanmoins, cette decision n'est pas executoire puisque le jugement du 21 avril 2023 rendu par le
Juge aux affaires familiales du Tribunal Judiciaire de PARIS prevaut.

Cette decision pourrait etre applicable que clans l'hypothese ou la Cour d' Appel de PARIS saisie
de la demande de reformation du jugement du 21 avril 2023 faisait droit a la demande de la mere.

But the hearing will not take place until October 2024, and Ms. Brown has never wished to
commit any offence.




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In addition, Ms. Brown's job requires her to travel and she has no intention of committing the
offence of unlawful child removal, as Mr. Paris did when he left the U~A.~( ~ J !
                                                                           '      ·ttt fe,1,z-            ~1:1\':.¢:'.   '.
En effet, elle doit pouvoir encore se deplacer librement dans le monde et J'l~.9.ffiR~en France
d'autant plus que le pere de ses enfants est frarn;ais.                  \-N!r ,J,r.-ut;,:,,ir;,;;v7rf1
                                                                                    -                         -.

Les enfants sont franco-americaines et Madame BROWN ne tient pas a se livrer aux memes
delits que le pere.

De plus, et a titre exemple, pour les vacances de Paques, Madame BROWN doit se rendre a
PERPIGNAN (66) avec les enfants.

Compte tenu de la distance, elle a pns des billets d' avions « aller et retour » PARIS-
PERPIGNAN, dument communiques au pere comme il l'a exige.

Neanmoins, pour prendre l'avion, les enfants doivent disposer de pieces d'identite, ce qui est
refuse par Monsieur PARIS y compris pour des deplacements en France.

Au surplus, Monsieur PARIS est deja poursuivi aux USA pour avoir place un tracker sur le
vehicule de Madame BROWN mais surtout pour avoir subtilise les donnees de son ordinateur
personnel.

11 a done ete inculpe de delits informatiques et il est actuellement en liberte sous caution.

La remise des passeports americains, seules pieces d'identite des enfants, pourrait lui permettre
de se livrer a de nouveaux delits :

- Annulation des passeports en ligne,
- Contracter des prets au nom des enfants,
- Faire etablir des cartes de credit au nom des enfants,

Ainsi, Monsieur PARIS reste redevable de la somme de 26.500 dollars pour un pret contracte en
juillet 2020 aupres de l'enseigne SMALL BUSINESS ADMINISTRATION pretendant vivre a
TOPANGA (Califomie) alors qu'il avait demenage en aout 2019.

Monsieur PARIS a pen;u les allocations chomage aux USA alors qu'il se trouvait sur le territoire
frarn;ais.

11 a egalement pen;u les aides COVID 19 alors qu'il etait resident americain.
Mr. PARIS has also been ordered to pay Ms. BROWN 225,000 dollars in legal fees incurred in the USA,
which he has not paid;




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11 cherche uniquement a priver la mere des enfants.
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                                                                                 i.                        . -

11 prive egalement ses enfants de leurs racines americaines en ne leur permettant pas de retourner clans le
pays dont elles ont la nationalite.

Enfin, et comme le precise lajeune fille au pair embauchee par Monsieur PARIS pour s'occuper des deux
 enfants, depuis son arrivee en France, elle s'est occupee seule deux enfants « pendant ces 50 }ours et plus
j 'ai eu la garde des fill es pendant presque toutes les heures d 'eveil, sans compter l 'ecole et !es activites
extra-scolaires ».

Piece n° 93

Par consequent, les enfants Juliette et Eva sont pris a charge par une jeune fille au pair agee de juste 20
ans, depuis la rentree scolaire de maniere quasi exclusive.

11 est done patent que !'execution provisoire de la decision du 25 aout entraine des consequences d'une
particuliere gravite et manifestement excessives pour Madame BROWN.



                                                      ***
Eu egard a !'ensemble des developpements ci-avant, ii est patent qu'il existe un motif serieux
d'annulation de la decision, clans la mesure ou !'assignation de Monsieur PARIS n'ajamais fait l'objet
d'une signification - tant en France qu'aux Etats-Unis - de sorte qu'elle ne pouvait valablement saisir le
Juge aux affaires familiales pres le Tribunal judiciaire de Paris.

En outre, !'execution provisoire entraine des consequences manifestement excessives pour madame
BROWN en ce qu'elle fait obstacle a la poursuite de liens reguliers et securisants avec ses deux filles.

Dans ces conditions, Madame BROWN est parfaitement legitime a solliciter de Madame ou Monsieur le
Premier President pres la Cour d'appel de Paris qu'il arrete !'execution provisoire attachee au Jugement
du 25 aout 2023 rendu par le Juge aux affaires familiales du Tribunal Judiciaire de Paris.



                                             PAR CES MOTIFS




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Vu I 'article 517-1 du code de procedure civile,
Vu les articles 653 et suivants du code de procedure civile,
Vu /es articles 683 et suivants du code de procedure civile,
Vu le Jugement du 25 aout 2023,
Vu /es pieces versees au debat,



II est demande a Madame ou Monsieur le Premier President de :

RECEVOIR Madame BROWN en ses demandes et l'y declarer bien fondee;

JUGER qu'il existe moyen serieux d'annulation ou de reformation de la decision du 25 aout 2023 et que
l'execution provisoire de cette meme decision entraine des consequences manifestement excessives pour
Madame BROWN ;

En consequence,

ORDONNER l'arret de l'execution provisoire attachee au Jugement du 25 aout 2023 rendue par le Juge
aux affaires familiales du Tribunal judiciaire de Paris ;

CONDAMNER Monsieur PARIS au paiement de la somme de 3.000 euros au titre de l'article 700 du
code de procedure civile et aux entiers depens.

                                                                          SOUS TOUTES RESERVES




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